       Case 1:20-cv-02831-KPF          Document 117         Filed 11/15/21   Page 1 of 3




  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK

  BERNADETTE SKORUPSKA,
                                                            Index No.: 20-cv-2831-KPF
                                         Plaintiff,
                  -against-
                                                            DECLARATION OF JOHN A.
  525 WEST 52 PROPERTY OWNER LLC,                           SNYDER, ESQ. IN SUPPORT OF
  CITY OF NEW YORK, PHIPPS HOUSING                          DEFENDANT’S MOTION FOR
  DEVELOPMENT CORPORATION, and                              SUMMARY JUDGMENT
  TACONIC MANAGEMENT LLC,

                                         Defendants.


       JOHN A. SNYDER, an attorney admitted to practice in the United States District Court for

the Southern District of New York, hereby affirms the truth of the following under penalty of

perjury:

   1. I am an attorney with the law firm of Jackson Lewis P.C., attorneys of record for Defendant

Phipps Houses Services, Inc. (“PHSI,” incorrectly named in the Amended Complaint as “Phipps

Housing Development Corporation”), in the above-captioned action. As such, I am familiar with

the facts of this case and the documents attached hereto.

   2. This Declaration is submitted in support of PHSI’s Motion for Summary Judgment,

pursuant to Federal Rule of Civil Procedure 56 and the Local Rules of this Court, seeking the

dismissal of all claims asserted in Plaintiff’s Amended Complaint, with prejudice, and for such

other and further relief as the Court deems just and proper.

   3. Attached hereto are the following exhibits which are cited in the Statement of Undisputed

Material Facts and in the Memorandum of Law in Support of PHSI’s Motion for Summary

Judgment.
       Case 1:20-cv-02831-KPF           Document 117         Filed 11/15/21      Page 2 of 3




   4. A true and correct copy of the deposition transcript of Plaintiff Bernadette Skorupska dated

July 23, 2021 is attached hereto as Exhibit “A.”

   5. A true and correct copy of the deposition transcript of Plaintiff Bernadette Skorupska dated

August 3, 2021 is attached hereto as Exhibit “B.”

   6. A true and correct copy of the deposition transcript of Monica Morgan is attached hereto

as Exhibit “C.”

   7. A true and correct copy of the deposition transcript of Nickeisha Silvera is attached hereto

as Exhibit “D.”

   8. A true and correct copy of Plaintiff’s Amended Complaint is attached hereto as Exhibit

“E.”

   9. A true and correct copy of the May 4, 2015 Regulatory Agreement between 525 West 52

Property Owner LLC and 525 West 52 LI Property Owner LLC on the one hand, and the City of

New York is attached as Exhibit “F.”

   10. A true and correct copy of the Marketing and Rent-Up Plan for 525 W. 52nd Street Apts at

525 West 52nd Street, New York, NY 10019 is attached hereto as Exhibit “G.”

   11. A true and correct copy of the March 28, 2016 Contract for Consulting Services between

525 West 52 Property Owner LLC and Phipps Houses Services, Inc. is attached hereto as Exhibit

“H.”

   12. A true and correct copy of the 2016 Marketing Handbook, an exhibit at the deposition of

Monica Morgan, is attached hereto as Exhibit “I.”

   13. A true and correct copy of a Portion of the Master Log showing the successful applicant

for the six (6) disability set-aside units, an exhibit at the deposition of Monica Morgan, is attached

as Exhibit “J.”



                                                -2-
       Case 1:20-cv-02831-KPF           Document 117         Filed 11/15/21     Page 3 of 3




   14. A true and correct copy of Plaintiff’s Application for Apartment is attached hereto as

Exhibit “K.”

   15. A true and correct copy of Plaintiff’s Lease Signing and Move-in Scheduled sheet, an

exhibit at the deposition of Plaintiff, is attached hereto as Exhibit “L.”

   16. A true and correct copy of the disability verifications submitted by the five other applicants

who received set-aside units are attached hereto as Exhibit “M.”

   17. A true and correct copy of Plaintiff’s September 24, 2021 letter in opposition to

Defendants’ pre-motion conference requests is attached hereto as Exhibit “N.”

   18. I have read the averments in the above numbered paragraphs, and confirm the same are

true to the best of my knowledge and belief.


Dated: New York, New York
       November 15, 2021
                                                            /s/
                                                       JOHN A. SNYDER, ESQ.



       4868-7578-0611, v. 1




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